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                                                                     USDC SDNY
UNITED STATES DISTRICT COURT                                         DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                        ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                            DOC #: ____________________
                                                                     DATE FILED: __10/19/2021

               -against-
                                                                               21 Cr. 429 (AT)
WILLIAM SCOTT,
                                                                                   ORDER
                                Defendant.
ANALISA TORRES, District Judge:

        The Court will hold a substitution of counsel hearing in this matter on October 20, 2021,
at 3:30 p.m. in Courtroom 15D of the United States Courthouse, 500 Pearl Street, New York,
New York 10007. The Government need not attend.

        In light of the ongoing COVID-19 pandemic, all individuals seeking entry to 500 Pearl
Street must complete a questionnaire and have their temperature taken before being allowed
entry into the courthouse. To gain entry to 500 Pearl Street, follow the instructions provided
here:
        https://www.nysd.uscourts.gov/sites/default/files/2020-10/QR%20Sign%20-
        %20Public Media v.5.pdf.

        All individuals must practice social distancing at all times in the courthouse. Individuals
must wear a mask that covers their nose and mouth at all times in the courthouse. Bandanas,
gaiters, and masks with valves are not permitted.

       Co-counsel, members of the press, and the public may access the audio feed of the
hearing by calling (888) 398-2342 or (215) 861-0674 at the time of the hearing, and entering
access code 5598827.



       SO ORDERED.

Dated: October 19, 2021
       New York, New York
